THE COURT.
Separate appeals were taken by the defendants Pratt and Citraro from a judgment for damages entered against them, after verdict by a jury, in the above-entitled action; and the appeals are presented on separate records. [1] All of the grounds urged for reversal by both defendants were considered and determined in the adverse decision we have this day filed in the appeal taken by the defendant Citraro (Traylen v. Citraro (No. 6866), ante, p. 172 [297 P. 649]). Therefore, in accordance with the views therein expressed, the judgment as to the defendant Pratt is affirmed.
A petition for a rehearing of this cause was denied by the District Court of Appeal on March 27, 1931, and a petition by appellant to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on April 23, 1931. *Page 764 